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SECOND DISTRICT OF TEXAS

FORT WORTH

NO. 2-02-411-CV



IN RE TEXAS DEPARTMENT OF HEALTH	RELATOR



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ORIGINAL PROCEEDING

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MEMORANDUM OPINION
(footnote: 1)
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The court has considered relator's petition for writ of mandamus and is of the opinion that relief should be denied. &nbsp;Accordingly, relator's petition for writ of mandamus is denied.

Relator shall pay all costs of this original proceeding, for which let execution issue.



PER CURIAM





PANEL B:	GARDNER, HOLMAN, and WALKER, JJ.





[DELIVERED JANUARY 23, 2003]

FOOTNOTES
1:See
 
Tex. R. App. P. 47.4.




